Case 5:22-cv-00789-JWH-SHK Document 13 Filed 05/12/22 Page 1 of 16 Page ID #:151
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                            UNITED STATES DISTRICT COURT
    10
                          CENTRAL DISTRICT OF CALIFORNIA
    11
    12 ROSS CORNELL                              Case No. 5:22−cv−00789−JWH−SHK
    13                Plaintiff(s),
                                                 STANDING ORDER
    14        v.
    15 OFFICE OF THE DISTRICT
       ATTORNEY, COUNTY OF
    16 RIVERSIDE, et al.
    17               Defendant(s).

    18
    19
    20
    21   PLEASE READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE

    22       AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

    23
    24   •     If this case was removed to this Court, then the removing Defendant is

    25   DIRECTED immediately to serve this Order on all other parties.

    26   •     Otherwise, Plaintiff is DIRECTED immediately to serve this Order on all

    27   parties.

    28


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    1         This action has been assigned to the calendar of Judge John W. Holcomb.

    2         The Court and the litigants bear joint responsibility for the progress of

    3    litigation in the Federal Courts. To secure the just, speedy, and inexpensive

    4    determination of every action, see Fed. R. Civ. P. 1, all counsel are hereby

    5    ORDERED to become familiar with the Federal Rules of Civil Procedure

    6    and the Local Rules of the Central District of California.

    7         The Court further ORDERS as follows:

    8         1.   Service of the Complaint. Plaintiff shall serve the Complaint

    9    promptly in accordance with Rule 4 of the Federal Rules of Civil Procedure and

    10   shall file the proofs of service pursuant to L.R. 5-3.1.

    11        2.   Removed Actions. Any answers filed in state court must be re-filed

    12   in this Court, either as an exhibit to the Notice of Removal or as a separate filing.

    13   Any pending motions must be re-noticed in accordance with L.R. 6-1.

    14        3.   Assignment to a Magistrate Judge. Under 28 U.S.C. § 636, the

    15   parties may consent to have a Magistrate Judge preside over all proceedings. The

    16   Magistrate Judges who accept those designations are identified on the Central

    17   District’s website, which also contains the consent form.

    18        4.   Electronic Filing. This Court uses an electronic filing system for

    19   documents. Information regarding the Court’s Electronic Case Filing system is

    20   available on the Court’s website at www.cacd.uscourts.gov/cmecf.

    21        All documents required to be e-filed in this matter can be found in General

    22   Order No. 10-07 (as updated and amended) and L.R. 5-4. The Court

    23   specifically directs litigants to L.R. 5-4.3.1, requiring that all electronically filed

    24   documents be created by publishing the document to PDF, and not by scanning

    25   paper documents.

    26        5.   Mandatory Chambers Copies. All original filings are to be filed

    27   electronically pursuant to L.R. 5-4. The Court requires one (1) Mandatory

    28   Chambers Copy of ONLY the following filed documents:


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    1             a.      Civil matters: Motions and related documents (e.g.,

    2         oppositions, replies, exhibits); ex parte applications and related documents

    3         (e.g., oppositions and exhibits); and Joint Rule 26(f) Reports;

    4             b.      Criminal matters: All motions and related documents and

    5         exhibits; plea agreements(s); and sentencing memorandum and objections to

    6         the pre-sentence reports.

    7    Mandatory Chambers Copies shall be delivered to the Courtesy Box, located

    8    outside of Courtroom 2 on the second floor of the United States District Court,

    9    3470 Twelfth Street, Riverside, California 92501, no later than 5:00 p.m. on the

    10   first court day following the e-filing. Alternatively, Counsel may transmit such

    11   conformed Mandatory Chambers Copies via FedEx, UPS, or other overnight

    12   service, for delivery no later than 5:00 p.m. on the first court day following the

    13   e-filing, addressed to the Chambers of Judge John W. Holcomb, U.S. District

    14   Court for the Central District of California, Courtroom 2, 3470 Twelfth Street,

    15   Riverside, CA 92501. All Mandatory Chambers Copies shall comply with the

    16   document formatting requirements of L.R. 11-3, except for the blue-backing

    17   requirement of L.R. 11-4.1, which is hereby waived. If the filing party and its

    18   counsel fail to deliver a Mandatory Chambers Copy in full compliance with this

    19   Order and L.R. 11-3, the Court may, on its own motion, reschedule any related

    20   hearing and impose sanctions.

    21        6. Proposed Orders. Each party filing or opposing a motion or seeking

    22   the determination of any matter shall serve and electronically lodge a proposed

    23   order that sets forth the relief or action sought and a brief statement of the rationale

    24   for the decision with appropriate citations.

    25        7. Presence of Lead Counsel. Lead trial counsel for each party must

    26   attend every status conference, scheduling conference, and pretrial conference set

    27   by the Court. Failure of lead trial counsel to appear for those proceedings is a

    28   basis for sanctions.


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    1         8. Discovery. All discovery matters have been referred to a United

    2    States Magistrate Judge. The Magistrate Judge’s initials follow the District

    3    Judge’s initials in the case number assigned to the matter. The words

    4    “DISCOVERY MATTER” shall appear in the caption of all documents relating to

    5    discovery to insure proper routing. Unless the assigned Magistrate Judge explicitly

    6    waives the Mandatory Chambers Copy rule, Counsel shall deliver Mandatory

    7    Chambers Copies of discovery-related papers to the assigned Magistrate Judge

    8    (rather than to this Court).

    9         9. Motions - General Requirements.

    10             a. Time for Hearing Motions. Motions shall be filed and set for

    11        hearing in accordance with L.R. 6-1. Motions will be heard on Fridays

    12        commencing at 9:00 a.m. Any motion noticed for a holiday shall

    13        automatically be set to the next Friday without further notice to the parties.

    14             b. Length and Format of Motions. Memoranda of Points and

    15        Authorities in support of or in opposition to motions shall not exceed 25

    16        pages. Replies shall not exceed 12 pages. Only in rare instances, and for

    17        good cause shown, will the Court grant an application to extend these page

    18        limitations. When citing to legal databases, wherever possible cite to

    19        Westlaw rather than Lexis.

    20             c. Voluminous Materials. If documentary evidence in support of

    21        or in opposition to a motion exceeds 50 pages, the evidence must be

    22        separately bound and tabbed and include an index. If such evidence exceeds

    23        200 pages, the documents shall be placed in a three-ring binder, with an

    24        index and with each item of evidence separated by a tab divider.

    25             d. Withdrawal of, or Non-Opposition to, Motions. In the event

    26        that the parties resolve a pending motion, they must notify the Court

    27        immediately. Sanctions may issue for failure to comply with this

    28        requirement, or the broader requirement set forth in L.R. 7-16 that any party


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Case 5:22-cv-00789-JWH-SHK Document 13 Filed 05/12/22 Page 5 of 16 Page ID #:155
    1         who intends to withdraw a motion, not to oppose a motion, or to seek a

    2         continuance of the hearing date for a motion, must notify the Court by

    3         12:00 noon on the Tuesday preceding the hearing date.

    4         10. Amended Pleadings. In addition to the requirements of L.R. 15, all

    5    motions to amend pleadings shall (a) state the effect of the amendment; and

    6    (b) identify the page(s), line number(s), and wording of any proposed change or

    7    addition of material.

    8         Parties amending their pleadings for whatever reason−including those

    9    previously dismissed with leave to amend−must file a redlined copy (in PDF or

    10   Microsoft Word) as a Notice of Revisions, comparing their amended pleading with

    11   their previous pleading. An additional copy of the redlined pleading shall be

    12   provided to Chambers by email at JWH_Chambers@cacd.uscourts.gov on the

    13   same day that the amended pleading is filed electronically. Handwritten pleadings

    14   are the only exception. When handwritten pleadings are amended, the party shall

    15   identify which paragraphs have been modified in a separate statement. This

    16   paragraph applies equally to complaints, answers, cross-complaints, and

    17   supplemental pleadings. Absent a showing of good cause, failure to comply with

    18   this paragraph will result in the Court striking the amended pleading.

    19        11. Class Actions. Notwithstanding L.R. 23-3, the deadline for the filing

    20   of a motion for class certification will be set during the Scheduling Conference

    21   and/or in a Scheduling Order. If the Court does not expressly set a separate

    22   deadline for the filing of a motion for class certification, then such deadline shall

    23   be the same as the deadline for filing dispositive motions. No request for relief

    24   from L.R. 23-3 is necessary.

    25        12. Motions for Summary Judgment or Partial Summary Judgment.

    26   This Court’s procedures for summary judgment motions differ from those set

    27   forth in Rule 56 and in this Court’s Local Rules. Please read this paragraph

    28                             carefully and comply with it.


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    1    No party may file more than one motion pursuant to Rule 56 of the Federal Rules

    2    of Civil Procedure regardless of whether such motion is denominated as a motion

    3    for summary judgment or summary adjudication.

    4              a. The Joint Exhibit

    5          Parties must consolidate any exhibits, affidavits, declarations, or other

    6    documents cited as evidence into a single document (the “Joint Exhibit”).¹ If the

    7    file is too large to upload as a single document, then the parties may break it into

    8    two or more files; e.g., Joint Exhibit Part A, Joint Exhibit Part B, and so on.

    9    Whether in a single document or several, the Joint Exhibit should be consecutively

    10   paginated. For example, if the first document (Part A) starts at page 1 and ends at

    11   page 100, then the second document (Part B) should begin on page 101, and so on.

    12   A table of contents, if needed, should be submitted under separate cover.

    13         A recommended format the parties may adopt when citing to the Joint

    14   Exhibit is “Joint Exhibit Part C at 250:3-7 (Deposition of Passenger B),” where:

    15       • “Joint Exhibit Part C” indicates this evidence can be found in the third

    16         document (assuming here that the Joint Exhibit had to be broken up into

    17         multiple documents);²

    18       • “250” represents the page number of the Joint Exhibit where the evidence

    19         can be found;

    20       • “3-7” indicates that the evidence can be found on lines 3 through 7; and

    21       • the parenthetical “Deposition of Passenger B” is a concise, descriptive title

    22         of the underlying source document or evidence being cited.

    23         Parties offering evidence in support of, or in opposition to, a Rule 56 motion

    24   must cite to specific page and line numbers in depositions and paragraph numbers
         ____________________
    25
         1     The Court excludes non-evidentiary documents on the docket from this
    26   definition; e.g., the complaint, the answer, prior motions, and past orders.
    27   2     If the documents and evidence of the Joint Exhibit can fit as one PDF, then
         there is no need for the suffix “Part A.” The parties would simply cite it as “Joint
    28   Exhibit at 250:3-7 (Deposition of Passenger B).”


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    1    in declarations and affidavits. If a line number or paragraph number is not available

    2    (e.g., the citation is to a visual image or a handwritten note or some other document

    3    without identifiable lines or paragraph numbers), only then will providing the page

    4    number(s) suffice. Furthermore, such evidence must be authenticated properly.

    5    The Court directs the parties to become familiar with Orr v. Bank of America, NT &

    6    SA, 285 F.3d 764(9th Cir. 2002).

    7             b.    Joint Statement of Undisputed Facts and Genuine Disputes

    8         The moving party’s motion shall also be accompanied by a Joint Statement

    9    of Undisputed Facts and Genuine Disputes (a “Joint Statement”). The parties

    10   must cite to the Joint Statement in their respective briefs for any fact they wish to

    11   identify as a material fact under Rule 56(a). In turn, the Joint Statement will cite

    12   only to the Joint Exhibit. Citations found in the briefs to any individual exhibits or

    13   the Joint Exhibit will be disregarded.

    14        Prior to filing the motion, the parties shall meet and confer to complete that

    15   Joint Statement. The Joint Statement shall be presented in a table format and shall

    16   include the following columns:

    17     • The first column shall contain the number of the fact alleged to be

    18        undisputed.

    19     • The second column shall name the party proposing the statement of fact (the

    20        “Proponent”).

    21     • The third column shall contain a plain statement of the fact. Facts shall not

    22        be compound. For instance, if the opposing party (the “Opponent”) could

    23        respond by asserting that the fact is disputed only in part, then the fact is

    24        compound. By meeting and conferring, the Court expects the parties to

    25        resolve any instances where compound facts are “disputed in part” by

    26        making those factual statements more granular, noting which elements are

    27        disputed and which elements are not. Further, neither legal arguments nor

    28        conclusions constitute facts.


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    1      • The fourth column shall contain a citation to admissible evidence that the

    2        Proponent believes supports the proffered fact. If any party fails to provide a

    3        pin cite to the supporting evidence, then the Court will deem the proffered

    4        fact (or dispute) unsupported. See generally Christian Legal Soc. v. Wu, 626

    5        F.3d 483, 488 (9th Cir. 2010) (“Judges are not like pigs, hunting for truffles

    6        buried in briefs.” (quoting Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir.

    7        1994) (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)

    8        (per curiam)) (alteration omitted))). As a rule of thumb, pin citations should

    9        refer to no more than five pages at a time.

    10     • The fifth column shall first identify whether the proffered statement of fact

    11       is disputed or not. The entry must begin with either the word “Disputed”

    12       or “Undisputed.” If disputed, the Opponent must concisely (1) identify

    13       counter-evidence that contradicts or otherwise disputes the statement of

    14       fact, with a brief explanation; or (2) make an evidentiary objection. Counter-

    15       evidence must include a pin cite to the record (i.e., a page number and, when

    16       available, a line or paragraph number). If a party attempts to dispute a fact

    17       but fails to offer any counter-evidence, or only offers counter-evidence that

    18       falls short of contradicting the proffered fact, then the Court will deem the

    19       fact undisputed for the purposes of the motion. See Fed. R. Civ. P. 56(e)(2),

    20       L.R. 56-3. Additionally, any evidentiary objection must cite a specific rule

    21       and provide a short rationale or explanation. The Court will disregard

    22       “boilerplate recitations of evidentiary principles or blanket objections

    23       without analysis applied to specific items of evidence.” Doe v. Starbucks,

    24       Inc., 2009 WL 5183773, at *1 (C.D. Cal. Dec. 18, 2009); Amaretto Ranch

    25       Breedables v. Ozimals Inc., 907 F. Supp. 2d 1080, 1081 (N.D. Cal. 2012)

    26       (“This Court need not address boilerplate evidentiary objections that the

    27       parties themselves deem unworthy of development.”). For example, simply

    28       asserting that evidence is irrelevant or otherwise lacks foundation−without


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Case 5:22-cv-00789-JWH-SHK Document 13 Filed 05/12/22 Page 9 of 16 Page ID #:159
    1          any specific and tailored explanation why−will not constitute a proper

    2          evidentiary objection. See Communities Actively Living Indep. & Free v. City

    3          of Los Angeles, 2011 WL 4595993, at *8 (C.D. Cal. Feb. 10, 2011)(summarily

    4          overruling boilerplate evidentiary objections when the grounds for the

    5          objections were unduly vague and overbroad). If the Opponent has multiple

    6          objections, then the Opponent should number them (1), (2), (3), and so on.

    7        • In the final column, the Proponent may reply to any objections made by the

    8          Opponent. A reply is not strictly necessary. The Court will treat any fact as

    9          disputed only when (1) the Opponent objects as such; (2) the Court deems

    10         the counter-evidence admissible or the evidentiary objection credible; and

    11         (3) the Proponent offers no reply. If the Proponent chooses to respond, then

    12         the Proponent must also (a) identify evidence that rehabilitates its statement

    13         of fact or undermines the Opponent’s counterevidence; (b) make an

    14         evidentiary objection to the counterevidence, citing the specific evidentiary

    15         rule and providing a rationale; or (c) explain why the Opponent’s evidentiary

    16         objection is erroneous. Any further citations to the record must again

    17         include a pin cite. If the Opponent makes multiple objections, then the

    18         Proponent should reference the same number when providing a reply. If the

    19         Proponent has multiple replies to any given objection, then the Proponent

    20         should list them as (A), (B), (C), and so on.

    21   Parties are advised to use Microsoft Excel, but they may use whichever program

    22   best facilitates legibility.³ The moving party (or parties) must transmit a copy of

    23   the Joint Statement by email to JWH_Chambers@cacd.uscourts.gov at the time

    24   they file their motion.

    25         An illustrative example of the Joint Statement is set forth below:

    26   ____________________
         3     If the parties choose to use Microsoft Excel, then they must not merge cells;
    27
         they should use the alt enter function to create paragraph breaks within a single cell.
    28


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    1
          No. Proponent Statement of Fact           Supporting           Opponent’s Response              Proponent’s Reply
    2
                                                    Evidence
    3
          1.   Plaintiff   Plaintiff was driving Joint Exhibit Part Undisputed.
    4
                           her car when she       A at 10, ¶ 2 (Pl.’s
    5                      went through the       Decl.).

    6                      intersection.


    7     2.   Plaintiff   The light was green Joint Exhibit Part Disputed. The Light was red
                           when Plaintiff went    A at 10, ¶ 4 (Pl.’s when Plaintiff traveled
    8
                           through the            Decl.).               through the intersection.
    9                      intersection.                                Joint Exhibit Part C at 253:3-

    10                                                                  11 (Def.’s Expert Report).


    11
          3.   Plaintiff   Plaintiff was driving Joint Exhibit Part Disputed. Plaintiff was driving
    12                     at 35 miles per hour A at 10, ¶ 7 (Pl.’s 52 miles per hour when she

    13                     when she traveled      Decl.); Joint         went through the intersection.
                           through the            Exhibit Part B at Joint Exhibit Part C at 253:11-
    14
                           intersection.          115, ¶ 14 (Report 254:2 (Def.’s Expert Report).
    15                                            by Pl.’s Expert).

    16
          4.   Defendant   Passenger A shouted Joint Exhibit Part Disputed. FRE 802: This                FRE 803(2): This
    17
                           at Plaintiff to stop   C at 25:3-7 (Dep. statement is inadmissible            statement qualifies as a
    18                     looking at her phone of Passenger B).        hearsay because it is a          hearsay exception
                           while she drove                              statement, made by an out-of- because it was an
    19
                           through the                                  court declarant (Passenger A), excited utterance that
    20                     intersection.                                being offered to support the     occurred moments

    21                                                                  assertion that Plaintiff was     before the crash.
                                                                        looking at her phone while
    22
                                                                        driving in the intersection.
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    1
          No. Proponent Statement of Fact              Supporting          Opponent’s Response           Proponent’s Reply
    2
                                                       Evidence
    3
          5.    Defendant   Defendant is a good Joint Exhibit Part Disputed.
    4
                            driver.             B at 118:23-28
                                                                     (1) Defendant is not a good       (1)(A) Defendant’s
    5                                           (Dep of Def.’s
                                                                     driver. Defendant drove the       friend has unreliable
    6                                           Mother).
                                                                     wrong way on a one-way road memory. Joint Exhibit

    7                                                                as recently as a year ago. Joint Part C at 202:2-9 (Decl.
                                                                     Exhibit Part C at 204:4-25        of Def.’s Friend).
    8
                                                                     (Decl. of Def.’s Friend).
                                                                                                       (1)(B) Defendant has no
    9
                                                                     (2) FRE 602, 701: The             moving violations on
    10                                                               supporting evidence is            her official driving

    11                                                               inadmissible because the          record. Joint Exhibit
                                                                     Defendant’s mother lacks          Part B at 179 (DMV
    12
                                                                     personal knowledge of             record).
    13                                                               Defendant’s driving. She has
                                                                                                       (2)While Defendant’s
                                                                     not seen Defendant drive in
    14                                                                                                 mother has not seen her
                                                                     two years. Joint Exhibit Part B
    15                                                                                                 drive in two years, she
                                                                     at 117:10-12 (Dep. of Def.’s
                                                                                                       remembers Defendant’s
    16                                                               Mother).
                                                                                                       driving abilities. Joint

    17                                                               (3)This statement is not a fact; Exhibit Part B at 116:15
                                                                     it is an opinion.                 (Dep. of Def.’s Mother)
    18
    19
          ...   ...         ...                  ...                 ...                               ...
    20
    21          Please see the appendix for a demonstrative aid for more information.

    22          13. Ex ParteApplications. Ex parte applications are considered on the

    23   papers, and applicants need not set them for hearing. Counsel are advised that this

    24   Court allows ex parte applications solely for extraordinary relief. Sanctions may be

    25   imposed for the misuse of ex parte applications. See In re Intermagnetics Am., Inc.,

    26   101 B.R. 191 (Bankr. C.D. Cal. 1989). Counsel also should become familiar with

    27   Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488

    28   (C.D. Cal. 1995), regarding ex parte applications.


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    1          The Court directs Counsel’s attention to L.R. 7-19. The moving party’s

    2    declaration in support of an ex parte application shall show compliance with

    3    L.R. 7-19 and this Order, and it shall include a statement of opposing counsel’s

    4    position. Failure to do so ensures the application will be DENIED. The other

    5    parties’ opposition, or notice of non-opposition (which notice may be provided

    6    telephonically to the Courtroom Deputy Clerk (951-328-4462)), to an ex parte

    7    application is due 24 hours−not the next court day−after the other parties’

    8    receipt of the ex parte application. In view of that 24-hour deadline for opposition

    9    papers, in the absence of a true emergency, the Court takes a dim view of

    10   applicants who file their ex parte applications on Fridays or on the day before a

    11   court holiday. As with all motion papers, counsel must deliver a Mandatory

    12   Chambers Copy in accordance with Paragraph 5 above. Counsel will be notified

    13   by the Courtroom Deputy Clerk of the Court’s ruling, or of a hearing time and

    14   date if the Court determines that a hearing is necessary.

    15         14. Stipulations. Stipulations extending scheduling dates set by this

    16   Court are not effective unless and until approved by the Court. Continuances will

    17   be granted only upon a showing of good cause. The assertion that the parties have

    18   not concluded their discovery efforts does not constitute “good cause.” The

    19   assertion that the parties are not ready for trial does not constitute “good cause.”

    20         15. Communication with Chambers. Unless requested to do so,

    21   counsel shall not attempt to contact the Court or its staff by telephone or by any

    22   other ex parte means. Counsel are directed to review the Central District’s website

    23   at www.cacd.uscourts.gov for the Local Rules, filing procedures, judges’

    24   procedures and schedules, calendars, forms, and Pacer access. Counsel may

    25   contact the Courtroom Deputy Clerk, Irene Vazquez, by telephone at 951-328-4462

    26   or by email at irene_vazquez@cacd.uscourts.gov only in the event that counsel

    27   cannot find the desired information through all available resources.

    28   ///


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    1        16. Telephonic and Video Appearances. The Court does not conduct

    2    telephonic hearings. Counsel must request a video appearance for a hearing

    3    through the Courtroom Deputy Clerk, by email at

    4    JWH_Chambers@cacd.uscourts.gov, at least one week before the scheduled

    5    hearing.

    6        17. Bench Trials: Findings and Conclusions. When parties file

    7    proposed findings of fact and conclusions of law pursuant to Rule 52 and L.R. 52-1

    8    & 52-3, the proposed findings and proposed conclusions shall be consecutively

    9    numbered. If, for example, the proposed findings end at paragraph 26, then the

    10   first proposed conclusion shall begin with paragraph 27.

    11              IT IS SO ORDERED.

    12
    13
         Dated: May 12, 2022
    14
                                           John W. Holcomb
    15                                     UNITED STATES DISTRICT JUDGE

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    15                          APPENDIX

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